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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                       Plaintiff,
                                                19 Civ. 3377 (LAP)
-against-
                                                        ORDER
ALAN DERSHOWITZ,

                       Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

    In advance of the teleconference scheduled for November 24,

2020 at 2:30 p.m. EST (see dkt. no. 191), the Court will

communicate separately to counsel information for joining the

teleconference.      Members of the public may join the

teleconference using the following listen-only line: (888) 363-

4734, access code: 4645450.

SO ORDERED.

Dated:       New York, New York
             November 18, 2020

                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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